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qE;:K'CMB, 'GOU.D
-v- 2:030R20405-01-Ml W,DU§§S;§}`W
‘ l;'- 'r'l
DANA LlLLv

L. Lee Harrell Jr. Retained
Defense Attorney

110 NW Court Square
Trenton, TN 38382

 

 

JUDGMENT lN A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on September 24, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Titre & section M=JLMQFM Offense Number(s)
Concluded
26 U.S.C. § 5841, Possession of an Unregistered 05/15/2003 1

5861(d) and 5871 Firearm

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vlandatory
Victims Restitution Act of 1996.

Count 2 is dismissed on the motion of the United States.
|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by thisjudgment are fully paid.

Defendant’s Soc. Sec. No. 415~96-2641 Date of imposition of Sentence:
Defenda'nt’s Date of Birth: 03/24.»'1954 June 9, 2005
Deft’s U.S. N|arshal No.: 19299-076

Defendant’s Nlai|ing Address:
8066 Highway 88
Friendship, TN 38034

/QQQD‘ (U
ON PHIPPS MCCALLA
N|TED TATES D|STR|CT JUDGE

June 60 , 2005

'F-hls document_entered on the docket set in compliance
With Hule 55 and/or 32{©) FRCrP on ` ’

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Case No: 2:03CR20405-01-M| Defendant Name: Dana LILL¥ Page 2 of 4
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 18 months (or 1 year and 6 months).

The Court recommends to the Bureau of Prisons: the defendant be incarcerated
at the Federa| Prison Camp in i\/ii||ington, TN or another prison camp designated by the
Bureau of Prisons.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshai.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshai

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Case No: 2:OBCR20405-01-Nii Defendant Name: Dana LlLLY Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND}T|ONS OF SUPERVISION

t. The defendant shall not leave the judicial district without the permission of the court or probation ofticer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation oft"icer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ofncer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distributel or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician. and shaft submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributedl or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofticer;

9. The defendant shall pen'nit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:03CR20405-01-M| Defendant Name: Dana LlLLY Page 4 of 4
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such line or restitution in accordance with the Scheduie of Payments set
forth in the Crimina| Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|TIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall submit to mental health testing and mental health treatment programs
as directed by the Probation Office.

2. The defendant shall cooperate with DNA collection as directed by the Probation Office.
CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Total Restitution
$100.00 $500.00

The Special Assessment shall be due immediate|y.
F|NE
A Fine in the amount of $ 500.00 is imposed.

REST|TUTION

No Restitution was ordered.

 

ISTRIC COURT - W'"ERNT DSRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:03-CR-20405 Was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

 

L. Lee Harrell

HARRELL & HARRELL
110 Northvvest Court Sq.
Trenton, TN 38382

.1 oseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

